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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION

                           CASE NO. 22-CV-81294-CANNON

  DONALD J. TRUMP,

        Plaintiff,

  v.

  UNITED STATES OF AMERICA,

        Defendant.
  ________________________________/

                        UNITED STATES’ NOTICE OF FILING

        The United States of America hereby files the attached cover letter to the Special

  Master accompanying the Annotated Logs of Disputed Documents for Report and

  Recommendation. See Attachment A.

                                          Respectfully submitted,

                                          JUAN ANTONIO GONZALEZ
                                          UNITED STATES ATTORNEY

                                          MATTHEW G. OLSEN
                                          Assistant Attorney General

                                          By:    /s/
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                                           Chief
                                          JULIE A. EDELSTEIN
                                           Deputy Chief
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                                           Trial Attorney
                                          Counterintelligence and Export Control Section
                                                 National Security Division
                                          Department of Justice
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 12, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices of

  Electronic Filing generated by CM/ECF.




                                           /s/     Julie A. Edelstein
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